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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF TEXAS
                                    AUSTIN DIVISION

CHRISTIAN ODLUM,                               §
                                               §
                       Plaintiff,              §
                                               §
V.                                             §
                                               §               C.A.Ni":21CVOQ93 LY
                                               §
CSC SERVICEWORKS, INC.                         §
                                               §               JURY DEMANDED
                                               §
                       Defendants.             §

                                           COMPLAINT

       Plaintiff, CHRISTIAN OD LUM, files this Complaint and Jury Demand against Defendant

CSC SERVICEWORKS, INC. alleging willful violation of the Texas Commission on Human

Rights Act, and 42 U.S.C. §1981. For causes of action, Plaintiff would show the Court as follows:

                                                   I.
                          PARTIES, JURISDICTION, AND VENUE

       1.      Plaintiff CHRISTIAN ODLUM is a resident of Travis County, Texas.

       2.      Defendant CSC SERVICEWORKS, INC. is an entity which can be served with

Citation through its Registered Agent, CT Corporation System, 1999 Bryan Street, Suite 900,

Dallas, Texas 75201-3136

       3.      At all times relevant to this case, Defendant CSC ServiceWorks, Inc. acted as

Plaintiffs employer.

       4.      This Court has jurisdiction to hear the merits of Mr. Odium's claims under 28

U.S.C. §§1331 and 1337.

       5.      Venue is proper in this district and division under 28 U.S.C. §1391(b)(l) because

the incidents that gave rise to the claims in this case occurred in within this district and division.
                                      II.
                          CONDITIONS PRECEDENT AND
                    EXHAUSTION OF ADMINISTRATIVE REMEDIES

       6.      Plaintiff filed Charges of Discrimination with the Texas Workforce Civil Rights

Division within 180 days of the adverse employment actions alleged in this case, and is filing this

case within two years of filing those Charges. No notice of right to sue is needed from the Texas

Workforce Commission Civil Rights Division. Prewitt v. Cont'/ Auto., 927 F. Supp. 2d 435,450

(W .D. Tex. 2013) ("[I]n order to exhaust administrative remedies under Texas law, a plaintiff need

not actually request or receive a right-to-sue letter; it is the mere entitlement to the letter that

exhausts the administrative process and ends the [Texas Workforce] Commission's exclusive

jurisdiction.") Plaintiff has met all conditions precedent for his claim under the Texas Commission

on Human Rights Act.

       7.      Claims under 42 U.S.C. 1981 do not require the exhaustion of any administrative

remedies. Jones v. R.R. Donnelley & Sons Co., 541 U.S. 369, 382 (2004). Plaintiff is filing this

lawsuit within two years from the discriminatory and retaliatory acts taken against him by

Defendant.

                                           III.
                                    STATEMENT OF FACTS

       8.      Mr. Odium was hired by the Defendant in July 2018 as a Driver/Installer. He is

African-American. On or around September 24, 2018, he received a text message from Tristan

Carillo, his Assistant Supervisor, that stated "talk to you b[i]tch niggers, they are too stupid to read

the very fucking simple instructions I put on the wall." After receiving that text message, Mr.

Odlum spoke with the Regional Field Supervisor, Adam, who was Mr. Carillo's supervisor. Adam

told Mr. Odlum that Tristan was ''just playing." When he asked Adam if he was going to do

anything about it, Mr. Odlum was told: "you bitch too much-y'alljust bitches." Mr. Odlum then
reported the text message to Kathy in Human Resources. He was questioned on a conference call

on September 26, 2018 with HR about the situation, and he was told that they were going to

investigate. He was never told what the results of the investigation were.

       9.      On September 26, 2018, Mr. Odium received his first write-up, from Adam. He

refused to sign it, because he believed it was done in retaliation for his report about the text

messages. After that, he received two more write-ups that were also not legitimate. Adam, who

does the route scheduling, also began cutting back on his schedule and routes. Before Mr. Odium

made the complaint about the racial slurs, he was averaging approximately twelve stops per day.

After the complaint, he began averaging approximately 6-8 stops per day.          This reduction

significantly affected his compensation.

       10.     On or around January 3, 2019, Mr. Odlum filed a Charge of Discrimination with

the U.S. Equal Employment Opportunity Commission and the Texas Workforce Commission Civil

Rights Division regarding the discrimination and retaliation he had been facing. On January 25,

2019, Defendant terminated his employment.

                                                IV.
                                     CAUSES OF ACTION

                                COUNT ONE
                   DISCRIMINATION AND RETALIATION UNDER
                 THE TEXAS COMMISSION ON HUMAN RIGHTS ACT

       11.     Discrimination. The conduct of the Defendant towards Plaintiff, through its agents,

employees, managers, and supervisors, as set forth above, among other activities constitutes

discrimination on the basis of Mr. Odium's race, in direct violation of §21.001, et seq., Labor

Code, Vernon's Texas Codes Annotated, which states, in pertinent part, that:

                      "An employer commits an unlawful employment
                      practice if...the employer. .. discriminates against an
                      individual...or... classifies an employee .. .in a manner
                        that would deprive or tend to deprive an individual
                        of any employment opportunity or adversely affect
                        in any manner the status of an employee


Plaintiff's race was a determining or motivating factor in Defendant's employment decisions

regarding Plaintiff, including the decision to terminate Plaintiff's employment. Plaintiffs race

moved Defendant toward its decision or was a factor that played a part in Defendant's employment

decisions as to Plaintiff.

        12.     Retaliation. In addition, Defendant retaliated against Plaintiff for making

discrimination complaints, for participating in a discrimination investigation or otherwise

opposing race discrimination by employees of the Defendant. See Texas Labor Code §21.055.

Plaintiffs discrimination complaints were a determining or motivating factor in Defendant's

employment decisions regarding Plaintiff, including the decision to terminate Plaintiff's

employment.

                            COUNT TWO
     DISCRIMINATION AND RETALIATION IN VIOLATION OF 42 U.S.C. § 1981

        13.     42 U.S.C. §1981 prohibits race discrimination and retaliation in the making and

enforcing of contracts, including the making, performance, modification, and termination of

contracts, and the enjoyment of all benefits, privileges and conditions of the contractual

relationship.

        14.     Defendant intentionally discriminated against Plaintiff because of his race and

retaliated against him in violation of 42 U.S.C. §1981 by engaging in the conduct described above,

including subjecting Plaintiff to a racially hostile work environment, reducing his work hours,

subjecting him to adverse terms and conditions of employment, and by discharging him. The
unlawful practices committed by Defendant were and are a direct cause of Plaintiff's damages, as

more fully set forth below.

                                               V.
                                            DAMAGES

       15.     As a result of Defendant's unlawful conduct, Plaintiff has suffered economic and

actual damages, including past and future lost income, back wages, interest on back pay and front

pay, future wages or front pay, lost earnings in the past and future, lost benefits under the contract

or employment relationship, employment benefits in the past, and employment benefits in the

future. Plaintiffhas also incurred other actual damages as a result of Defendant's unlawful conduct,

including but not limited to past and future pecuniary losses, emotional pain and suffering,

inconvenience, mental anguish, loss of enjoyment of life, injury to professional standing, injury to

character and reputation, and other pecuniary and non-pecuniary losses.

                                                 VI.
                                COMPENSATORY DAMAGES

        16.    Defendant intentionally engaged in an unlawful employment practice by

discriminating against Plaintiff because of his race. Plaintiff additionally brings suit for

compensatory damages, including emotional pain and suffering, inconvenience, mental anguish,

loss of enjoyment of life, injury to professional standing, injury to character and reputation, lost

earning capacity in the past and future, and other pecuniary and non-pecuniary losses.


                                            VII.
                                     PUNITIVE DAMAGES

        17.    The conduct committed by Defendant against Plaintiff is the type of conduct

demonstrating malice or reckless indifference to the rights of the Plaintiff. Therefore, Plaintiff

additionally brings suit for punitive damages.
                                        VIII.
                           ATTORNEYS' FEES AND EXPERT FEES

        18.    A prevailing party may recover reasonable attorneys' and experts' fees under Title

VII. Plaintiff seeks all reasonable and necessary attorneys' fees in this case, including preparation

and trial of this lawsuit, post-trial, pre-appeal legal services,and any appeals. Plaintiff additionally

brings suit for expert fees.


                                              IX.
                                         JURY DEMAND

        19.     Plaintiff demands a trial by jury of all the issues and facts in this case and tenders

herewith the requisite jury fee.

                                              PRAYER

        WHEREFORE, PREMISES CONSIDERED, Plaintiff requests that:

        1.      The Court assume jurisdiction of this cause;

        2.      The Court award Plaintiff damages as specified above;

        3.      The Court award Plaintiff reinstatement or, in the alternative, front pay;

        4.      The Court award Plaintiff's reasonable attorneys' and expert fees and costs;

        5.      The Court award Plaintiff pre- and post-judgment interest at the highest rates

allowed.

        Plaintiff further prays for any such other relief as the Court may find proper, whether at

law or in equity.

                                                       Respectfully submitted,




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